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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

BRICIO CORTES-RANGEL,                             )
                                                  )      Case No.
                     Plaintiff,                   )
v.                                                )
                                                  )
                                                  )
SCHINDLER ELEVATOR CORPORATION,                   )      Magistrate Judge
                                                  )
                     Defendants.                  )


                                  NOTICE OF REMOVAL

       Please take notice that Defendant SCHINDLER ELEVATOR CORPORATION, a

Deleware corporation, by its attorneys Alan M. Bernover and LITCHFIELD CAVO LLP, pursuant

to 28 U.S.C. §§ 1331, 1332, 1441 and 1446, hereby removes the civil action captioned

BRICIO CORTES-RANGEL v. Schindler Elevator Corporation, case No. 2021 L 010790,

pending in the Circuit Court of Cook County, Illinois (“state court action”), to the U.S.

District Court for the Northern District of Illinois. As grounds for removal, Schindler states

as follows:

                                  PROCEDURAL HISTORY

       1.     The present State Court Action was initiated by Plaintiff on November 4,

2021. Plaintiff’s petition and jury demand is attached hereto as Exhibit A (“Petition”).

       2.     Plaintiff’s Original Complaint named PENNY OPCO, LLC d/b/a JCPENNY,

SCHINDLER ELEVATOR CORPORATION, and TK ELEVATOR CORPORATION.

However, due to the Bankruptcy of PENNY OPCO, LLC d/b/a JCPENNY and the non-

involvement of TK ELEVATOR CORPORATION, Plaintiff amended his complaint on

March 10, 2022 naming solely Schindler Elevator Corporation.
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       3.     Schindler was served with a copy of the Plaintiff’s Amended Complaint on

March 10, 2022 through the State Court’s electronic filing system, a copy of which is

attached hereto as Exhibit B.

       4.     Thirty days have not expired since Schindler was served with a copy of the

Amended complaint setting forth the clam for relief upon which such action or proceeding

is based. 28 U.S.C. §§ 1446(b).

       5.     In the Amended complaint, plaintiff alleges Schindler negligently

manufactured and maintained a passenger elevator located inside the JCPENNY at 7507

West Cermak Road, North Riverside Illinois 60546 allegedly causing plaintiff to fall,

causing injury. See attached Exhibit A.

       6.     The complaint alleges over $50,000 in damages. See attached Exhibit A.

       7.     On information and belief, Plaintiff is seeking in excess of $75,000 due to

his alleged injuries.

                                          THE PARTIES

       8.      Plaintiff is a citizen of Illinois.

       9.     Defendant Schindler is a corporation organized and existing under the laws

of Delaware with its principal place of business in Morristown, New Jersey. Schindler is a

citizen of Delaware and New Jersey.

                                AMOUNT IN CONTROVERSY

       10.    28 U.S.C. § 1446(c) provides, in relevant part:

       (2) If removal of a civil action is sought on the basis of the jurisdiction
       conferred by section 1332(a), the sum demanded in good faith in the initial
       pleading shall be deemed to be the amount in controversy, except that –

       (A) The notice of removal may assert the amount in controversy if the initial
       pleadings seeks –
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       (ii) a money judgment, but the State practice either does not permit demand
       for a specific sum or permits recovery of damages in excess of the amount
       demanded;

       28 U.S.C. § 1446(c)(2) and (c)(2)(A)(ii).

       11.    28 U.S.C. § 1446(3) further provides that a case may be removed and the

amount in controversy may be satisfied by receipt of an “other paper” from which it may

be determined that the amount in controversy has been met. 28 U.S.C. § 1446(3).

       12.    Here, Plaintiff’s Petition does not demand or state an amount of money

damages, but rather requests a damages for alleged personal injuries for an amount that

is “exceeds $50,000.” Exhibit A.

                               JURISDICTION AND VENUE

       13.    This Court has subject matter jurisdiction over this dispute under 28 U.S.C.

§ 1332 because the dispute arises between citizens of different states and the amount in

controversy exceeds the sum or value of $75,000, exclusive of interest and costs.

       14.    The U.S. District Court for the Northern District of Illinois encompasses the

geographic region where the state court action is pending.

       15.     Pursuant to 28 U.S.C. § 1446(d), promptly after filing this Notice of

Removal, Schindler will give written notice to plaintiff and will file a copy of this Notice of

Removal with the Circuit Court of Cook County, Illinois.

       Wherefore, Defendant, SCHINDLER ELEVATOR COPRATION, a Delaware

Corporation, hereby removes this matter from the Circuit Court of Cook County, Illinois to

the U.S. District Court for the Northern District of Illinois, as provided by law, and this

action should proceed as if it had originally been commenced in this Court.
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Dated: April 5, 2022                        Respectfully submitted,

                                            LITCHFIELD CAVO, LLP.


                                      By:   /s/ Alan M. Bernover
                                            Attorney for the defendant Schindler
                                             Elevator Corporation




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